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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                 x Chapter 11
    In re:                                                       : Case No. 24-12534 (JKS)
    CarePoint Health Systems Inc. d/b/a Just Health              :
    Foundation, et al., 1                                        : (Jointly Administered)
                                                                 :
                                                                 :
                                    Debtors.                     :
                                                                 x
     EMERGENCY NOTICE OF AGENDA REGARDING MATTERS SCHEDULED FOR
                HEARING ON APRIL 11, 2025 AT 1:00 P.M. (ET)2


                      This proceeding will be conducted remotely via Zoom.
                        Please refer to Judge Stickles’ Chambers Procedures
          (https://www.deb.uscourts.gov/content/judge-j-kate-stickles) and the Court’s website
     (http://www.deb.uscourts.gov/ecourt-appearances) for information on the method of allowed
      participation (video or audio), Judge Stickles’ expectations of remote participants, and
                               the advance registration requirements.

     Registration is required today by 12:00 p.m. (Prevailing Eastern Time) before the
     hearing unless otherwise noticed using the eCourtAppearances tool available on the
                                      Court’s website.




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  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number are: (i) Bayonne Intermediate Holdco, LLC (7716); (ii) Benego CarePoint, LLC (2199); (iii) Briar Hill
CarePoint, LLC (iv) CarePoint Health Management Associates Intermediate Holdco, LLC (none); (v) CarePoint
Health Management Associates, LLC d/b/a CarePoint Health (3478); (vi) CarePoint Health Systems, Inc. d/b/a Just
Health Foundation (6996); (vii) CH Hudson Holdco, LLC (3376); (viii) Christ Intermediate Holdco, LLC (3376); (ix)
Evergreen Community Assets (1726); (x) Garden State Healthcare Associates, LLC (4414); (xi) Hoboken
Intermediate Holdco, LLC (2105); (xii) Hudson Hospital Holdco, LLC (3869); (xiii) Hudson Hospital Opco, LLC
d/b/a CarePoint Health-Christ Hospital (0608); (xiv) HUMC Holdco, LLC (3488); (xv) HUMCO Opco, LLC d/b/a
CarePoint Health-Hoboken University Medical Center (7328); (xvi) IJKG, LLC (7430); (xvii) Just Health MSO, LLC
(1593); (xviii) New Jersey Medical and Health Associates d/b/a CarePoint Health Medical Group (0232); (xix) Quality
Care Associates, LLC (4710); (xx) Sequoia BMC Holdco, LLC (9812); (xxi) IJKG Opco LLC d/b/a CarePoint Health-
Bayonne      Medical     Center    (2063). The       address    for   CarePoint    Health    Systems      Inc.     is
308 Willow Avenue, Hoboken, NJ 07030.

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 All motions and other pleadings referenced herein are available online at the following web address:
https://dm.epiq11.com/CarePoint

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I.      CONTESTED MATTERS

       1.      Decision regarding Plan Proponents’ request for confirmation of the Seventh
               Amended Combined Disclosure Statement and Joint Chapter 11 Plan of
               Reorganization [Filed: 04/09/2025; D.I. 1131].

               Related Documents:

               A.     Proposed Findings of Fact, Conclusions of Law, and Order confirming
                      Seventh Amended Combined Disclosure Statement and Joint Chapter 11
                      Plan of Reorganization [Filed: 04/09/2025; D.I. 1133].

               Status: The Court has informed the Debtors that it will issue its ruling regarding
               confirmation of the Seventh Amended Combined Disclosure Statement and Joint
               Chapter 11 Plan of Reorganization. This matter will go forward.



 Dated: April 11, 2025                       DILWORTH PAXSON LLP

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                                             Counsel for the Debtors




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